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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, )
)
v. ) CIVIL ACTION NO.
) a
$58,700.00, MORE OR LESS, ) § 3 ® CW ® @ 3 5 SS
IN UNITED STATES CURRENCY, ) -
Defendant. )

NOTICE OF COMPLAINT FOR FORFEITURE

1. On January 19, 2016, a Verified Complaint for Forfeiture in rem was filed in this
Court by the United States Attorney for the Western District of Texas, against the below-
described property for violations of 18 U.S.C. § 1956 and 21 U.S.C. §§ 801 et seq., and subject
to forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1) and 21 U.S.C. § 881(a)(6),
namely:

$58,700.00 More or Less, in United States Currency
(hereinafter the “Respondent Property”).

2. Pursuant to Supplemental Rule G(4)(b), notice to any person who reasonably
appears to be a potential claimant shall be by direct notice. Accompanying this notice is the
Verifred Complaint for Forfeiture which has been filed in this cause and which describes the
Respondent Property. Pursuant to Supplemental Rule G(4)(b), any person claiming an interest in
the Respondent Property who has received direct notice of this forfeiture action must file a
Claim, in compliance with Rule G(S)(a), with the court within 35 days after the notice was
sent, if delivered by mail (if mailed, the date sent is provided below), or within 35 days of the
date of delivery, if notice was personally served. An Answer or motion under Rule 12 of the

Federal Rules of Civil Procedure must then be filed within 21 days of the Claim being tiled.

APPENDIX A

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The Claim and Answer must be filed with the Clerk of the Court, 501 W. Fifth Street,
Austin, Texas 78701, and copies of each must be served upon Assistant United States Attomey
Daniel M. Castillo, 816 Congress Avenue, Suite 1000, Austin, Texas 78701, or default and
forfeiture will be ordered. See 18 U.S.C. § 983(a)(4)(A) and Rule G(S) of the Supplemental
Rules for Admiralty or Maritime Claim and Asset Forfeiture Actions.

Failure to follow the requirements set forth above will result in a judgment by default

taken against you for the relief demanded in the complaint

APPENDIX A

